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 6
 7                              UNITED STATES DISTRICT COURT
 8                            NORTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA                             No. CR 17-00389 RS
10
                                   Plaintiff,             DEFENDANT DRAY MOSBY’S
11                                                        SENTENCING MEMORANDUM AND
                    v.                                    REQUEST FOR DOWNWARD
12                                                        VARIANCE [18 U.S.C. § 3553 (a)(1)
     DRAY MOSBY,
13
                                   Defendant.             Date: May 7, 2019
14                                               /        Time: 2:30 p.m.
                                                          Judge: Honorable Judge Richard Seeborg
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16
                                            INTRODUCTION
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            53 year old defendant DRAY MOSBY appears before this Court for sentencing following
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     his conviction of Conspiracy To Distribute Methamphetamine 21 U.S.C. §846 and 21 U.S.C.
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     §§841(a)(1) and (b)(1)(B)(viii). The Presentence Report (PSR) was prepared by United States
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     Probation Officer Aakash Raju and he has calculated Mr. Mosby’s guidelines to be a Total
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     Offense Level 27, with a Criminal History Category of II, calling for an advisory guideline
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     sentence of 78 to 97 months. Mr. Raju has recommended that Mr. Mosby be sentenced to the low
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     end of that guideline range, 78 months in prison. Defendant objects to the probation officer’s
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     sentencing recommendation. Mr. Mosby faces a mandatory minimum sentence of five years
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     based on the technical amount of methamphetamine connected to his criminal conduct. (57.3
26
     grams). It is submitted that any sentence greater than 60 months is unjustified and inappropriate.
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     DEFENDANT M OSBY’S
     SENTENCING M EM ORANDUM
 1                                                   I.
 2                                     THE OFFENSE CONDUCT
 3           Mr. Mosby has been convicted of brokering a methamphetamine transaction to a
 4   confidential informant. He was not present for the transaction and his crime is basically one of
 5   providing contact information to the informant for his co-defendant drug supplier, Jennifer
 6   McPike.
 7          Operation Cold Day was an investigation conducted by the Bureau of Alcohol Tobacco
 8   and Firearms (ATF) featuring a paid confidential informant who set up numerous narcotics and
 9   firearms transactions with individuals around the Bay Area. A centerpiece of the operation was a
10   phony warehouse in Daly City equipped with sophisticated audio and video equipment where the
11   informant would set up transactions and introduce suspects to undercover agents posing as his
12   confederates. These types of operations are known as ATF Undercover Storefront Operations,
13   and were investigated by the United States Department of Justice Office of the Inspector General,
14   leading up to a report issued in September 2016. (Attached hereto as Exhibit A). These “sting”
15   operations are routinely used to create criminal conspiracies, convince individuals (who are
16   disproportionately ethnic minorities) to join them, and then prosecute them for committing
17   crimes that the ATF has designed and created. This practice has been widely criticized by the
18   judiciary, the press, and even the United States Congress. The ATF’s Daly City Operation Cold
19   Day netted approximately 60 federal defendants, and an unknown double digit number of
20   defendants prosecuted by state authorities.
21          The operational centerpiece of the ATF’s investigation was a Los Angeles Crip gangster
22   paid over $100,000 for his work as a confidential informant. The informant actively recruited
23   people all over the Bay Area to sell him drugs or guns directly, or to give him contact
24   information for people who could sell him drugs or guns. Much is known about this informant
25   because of investigation by various defendants, and because the informant recently testified in a
26   local federal drug case where the defendant was acquitted based on an entrapment defense.
27   (United States v. Lopez- CR 17-00334 WHO). This particular informant went so far as to go to
28   neighborhood playgrounds in several poor neighborhoods to try and cultivate drug and weapon
     DEFENDANT M OSBY’S
     SENTENCING M EM ORANDUM
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 1   connections, including providing drugs to minors as part of the process. The ATF’s use and
 2   oversight of confidential informants has recently been severely criticized. (See U.S. Department
 3   of Justice Office of the Inspector General Audit of the Bureau of Alcohol, Tobacco, Firearms and
 4   Explosives’ Management and Oversight of Confidential Informants published in March 2017,
 5   attached as Exhibit B).
 6          As discussed in the Addendum to the Presentence Report in this case, information was
 7   provided to the probation officer in this case regarding the informant and Operation Cold Day in
 8   order to provide some context to the drug transaction which lead to charges against the
 9   defendant. Not sure of the relevancy of the information, and whether it should be included in the
10   PSR, the probation officer deferred to the Court.
11          Here is why the information is relevant. Before getting there, it is important to emphasize
12   that Mr. Mosby takes full responsibility for his conduct in brokering a drug deal, but it is
13   important to understand how and why that conduct came about. In February 2017, the informant
14   was trolling the San Francisco Tenderloin neighborhood pursuing his Operation Cold Day
15   assignment to locate drug and weapon connections. In that pursuit, he came in contact with
16   homeless, drug addicted Mr. Mosby, and tried to establish a relationship. A month later in
17   March of 2017 there was an exchange of phone calls between the defendant and the confidential
18   informant where the informant was seeking someone to sell him methamphetamine.
19          The phone conversations and text exchanges ultimately lead to Mr. Mosby providing the
20   phone number to the informant of drug supplier and now co-defendant, Jennifer McPike. The
21   informant got in touch with Ms. McPike, and that lead to the drug transaction where Ms. McPike
22   sold 57.3 grams of methamphetamine to the informant at the Daly City undercover storefront
23   warehouse. Ms. McPike first provided a quantity of drugs that was two grams short. When
24   notified of the shortage, she then returned to the warehouse about an hour later and provided
25   additional drugs. (See PSR ¶ 9). Before departing, Ms. McPike discussed the future sale of a
26   firearm, and then went on to set up the sale of the firearm to the informant by the third co-
27   defendant in this case, Efrain Santamaria.
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     DEFENDANT M OSBY’S
     SENTENCING M EM ORANDUM
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 1          Mr. Mosby never physically introduced the informant to Ms. McPike and never went to
 2   the Daly City warehouse. His involvement in the single drug transaction was a matter of phone
 3   communications to provide the contact information for Ms. McPike. After March 2017,
 4   Operation Cold Day continued, and Mr. Mosby had no further contact with the informant. In
 5   July 2017, Mr. Mosby was indicted for the drug transaction, and then in November 2017 was
 6   arrested while riding a bicycle in the Tenderloin.(See PSR ¶ 41).
 7          The methamphetamine sold by Ms. McPike weighed 57.3 grams and was quite pure,
 8   containing a net weight of 56.7 grams of methamphetamine. The government charged the case
 9   against Mr. Mosby as a five year mandatory minimum case and never backed off, making Mr.
10   Mosby ineligible for the CAP program based on the eligibility requirements for participation in
11   the program. Relevant to the application of the five year mandatory minimum in this case is the
12   recent Ninth Circuit case of United States v. Branson 2017 U.S. Dist LEXIS 122639. A copy of
13   the decision is attached as Exhibit C, and it discusses the twin goals of the United States
14   Sentencing Guidelines for uniformity and proportionality, and how the current guidelines for
15   methamphetamine create a disparity that undermines these sentencing goals. Mr. Mosby had no
16   idea of the purity of the methamphetamine Ms. McPike was selling, but it was enough to qualify
17   him for a five year mandatory minimum and boost his guideline offense level. He is now saddled
18   with that statutory responsibility.
19          Mr. Mosby was arrested and made his first appearance before Magistrate Judge Sallie
20   Kim on November 26, 2017 and was remanded in to custody. On December 4, 2017, Magistrate
21   Judge Kim released Mr. Mosby to a residential drug facility and set numerous conditions for his
22   release. Mr. Mosby first went to the Newbridge residential drug treatment facility in Berkeley,
23   but was later transferred to the Center point residential facility in San Rafael. Mr. Mosby
24   successfully completed the 90 days of residential treatment, and then as part of his aftercare was
25   released to a sober living environment (SLE). Mr. Mosby left the SLE on March 25, 2018 and
26   did not return. An arrest warrant was issued for Mr. Mosby and he remained a fugitive until June
27   26, 2018, when he was arrested by U.S. Marshals in the Tenderloin district of San Francisco.
28   He has remained in custody ever since.
     DEFENDANT M OSBY’S
     SENTENCING M EM ORANDUM
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 1   .                                                II.
 2                                   THE PRESENTENCE REPORT
 3          Other than the issue of the inclusion of the contextual information regarding the
 4   informant and Operation Cold Day in the PSR, all factual and legal issues regarding the PSR
 5   have been resolved. The dramatic and sad personal and family data for Mr. Mosby is aptly
 6   summarized within the report, particularly Mr. Mosby’s issues with abandonment, anger, and
 7   depression. It is also very clear that Mr. Mosby has a long history of substance abuse, though he
 8   has been successful in residential treatment on at least two occasions. Mr. Mosby has also
 9   demonstrated that he is capable of leading a law abiding life and holding down sustainable
10   employment. For seven years he was licensed as a transit driver, shuttling Genentech employees
11   to their various campuses. (See PSR ¶62) Any sentence for Mr. Mosby should clearly contain a
12   recommendation that he be allowed to participate in the Bureau of Prisons’ RDAP program.
13                                                   III.
14           SENTENCING RECOMMENDATION BY THE PROBATION OFFICER
15          The probation officer recommends a sentence at the low end of the calculated guideline
16   range, but recognizes that the personal history and characteristics of the defendant, as well as
17   sentencing disparity issues, may warrant a variance from the guidelines. (PSR ¶82) Defendant
18   submits that there is more than ample evidence to vary from the guidelines in Mr. Mosby’s case.
19                                                   IV.
20                            ANALYSIS PURSUANT TO 18 U.S.C. § 3553(a)
                               AND SENTENCING RECOMMENDATION
21
22          The primary directive in § 3553(a) is that the court must impose a sentence that is
23   “sufficient, but not greater than necessary, to comply with” the purposes of sentencing. See, 18
24   U.S.C. § 3553(a) Those purposes include the need: (1) to provide just punishment; (2) to create
25   adequate deterrence; (3) to protect the public; and (4) to provide the defendant necessary
26   treatment and training. 18 U.S.C. § 3553(a)(2). The Court has discretion to sentence Mr. Mosby
27   below the applicable guideline range as long as the sentence is not unreasonable in light of the
28   other 3553(a) factors.
     DEFENDANT M OSBY’S
     SENTENCING M EM ORANDUM
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 2          A.      Personal History and Characteristics of the Defendant
 3          Mr. Mosby’s mother put him up for adoption when he was born, maintaining custody of
 4   her other children. Although his mother brought him back in to her life when he was four years
 5   old, Mr. Mosby has never really gotten over his feelings of abandonment and an inability to trust
 6   others. He grew up in the middle of the crack epidemic and fell prey to its evil. He has struggled
 7   with drug addiction ever since. He never had a father or a male role model in his life, and he
 8   dropped out of school at an early age. It has been a life of struggle for Mr. Mosby and the Court
 9   should take this history in to account. He is now 53 years old and faces at least another four
10   years in prison. Even the applicable five year mandatory minimum is excessive under the
11   circumstances of this case.
12          B.      Disparity in Sentencing
13          The issue of disparity in sentencing issue pursuant to 18 U.S.C. §3553(a)(6) was
14   recognized by the probation officer in this case, but never specifically addressed. The issue of
15   sentencing disparity is particularly poignant in this case, both in terms of Mr. Mosby’s co-
16   defendants, and other defendants caught up in Operation Cold Day. Mr. Mosby’s two co-
17   defendant’s, Ms. McPike and Mr. Santamaria, have both been allowed to participate in the CAP
18   program, and apparently have been successful in that program. Mr. McPike is of course the
19   person who actually sold the informant the fifty plus grams of methamphetamine, and then set up
20   the gun sale with Mr. Santamaria. She is scheduled to be sentenced in July, but she clearly was
21   not prosecuted on the basis of 5 year mandatory minimum drug weight, otherwise she would not
22   be eligible for the CAP program. Mr. Santamaria was sentenced today by Judge Orrick after
23   graduating from the CAP program. He received a sentence of time served, with three years of
24   supervised release. Thus, the situation is that even though Mr. Mosby did not directly participate
25   in a drug or gun sale, he now faces the heaviest and most severe sentence of the three defendants.
26   That is simply not fair, and there is absolutely no reason he should receive more than a five year
27   sentence. The arbitrary prosecutorial decisions of the government in this case are truly hard to
28   understand, and mean spirited in their application to Mr. Mosby.
     DEFENDANT M OSBY’S
     SENTENCING M EM ORANDUM
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 1          Counsel is not aware of the specifics of all of the Operation Cold Day prosecutions and
 2   the sentences meted out to the various defendants, but is aware of one particular case very similar
 3   to the case against defendant Mosby, United States v. Ochoa and Dominguez CR 17-00375 JST.
 4   Counsel represented defendant Dominguez in that case. In August of 2016, as part of the
 5   Operation Cold Day investigation, the two defendants participated in a hand to hand sale of 7.2
 6   grams of actual methamphetamine to the central confidential informant at the Daly City “sting”
 7   warehouse. There was just one transaction, but the weight of the methamphetamine was
 8   technically sufficient to carry a five year mandatory minimum. Defendant Dominguez had a
 9   Criminal History Category of III. Pursuant to a conditional plea agreement where the five year
10   mandatory minimum was not alleged, Mr. Dominguez was sentenced to a four year prison term
11   by Judge Tigar. The co-defendant, Mr. Ochoa, was allowed to participate in the CAP program
12   with the approval of the government.
13          The Ochoa and Dominguez case was a single, relatively low level methamphetamine sale,
14   just like the case against Mr. Mosby. Mr. Mosby’s involvement in the single drug transaction
15   was far less than that of Ochoa and Dominguez because they both took part in the actual hand to
16   hand sale of the drugs. Nonetheless, Mr. Mosby now faces a significantly higher sentence than
17   Mr. Ochoa, and Mr. Dominguez, facing a minimum sentence of five years in jail. It would be
18   grossly unfair and unjust to sentence Mr. Mosby to more than five years in prison.
19                                             CONCLUSION
20          For the foregoing reasons, Defendant requests this Court to impose the sentence
21   suggested above. Defendant requests the Court to recommend to the Bureau of Prisons that he be
22   housed as close to the Bay Area as possible. It is unnecessary to impose a fine in this case. The
23   issue of bail bond forfeiture is addressed in a separate set of pleadings.
24
25   Dated: May 2, 2019                             Respectfully submitted,
26                                                                /s/
                                                    ROBERT WAGGENER
27                                                  Attorney for Defendant
                                                    DRAY MOSBY
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     DEFENDANT M OSBY’S
     SENTENCING M EM ORANDUM
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